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                             EXHIBIT B
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                                                     Pretty In Plastic Inc. 
                                                     ​
                                               NON­DISCLOSURE AGREEMENT 
                                                 Pretty In Plastic to Vendor 


        Disclosing Party: 
        Pretty in Plastic, Inc. 
        6818 Vineland Ave 
        Los Angeles, CA 
        91605 
        323.306.3085  

        Recipient: 
        Vendor: 




        DESCRIPTION OF SUBJECT  MATTER:  Any  Confidential or proprietary information of the Disclosing Party 
        or   its   clients  including  but  not  limited  to  technical   and  financial  information,  proprietary  data,  know­how, 
        designs,  specifications,  drawings,  applications,  manufacturing  materials  and  methods  regarding   the 
        Disclosing  Party’s or  its  clients’  plans, programs,  processes,  products, costs, equipment, operations, clients 
        or customers. 

        PURPOSE   OF  DISCLOSURE:  To  allow   the  Recipient  to  receive   the  Subject  Matter  from the Disclosing 
        Party in order for the Recipient to assess the possible level of future associations with the Disclosing Party. 

                The  Disclosing  Party  has  or   will   permit  the  Recipient  access  to  certain  information   which  is 
        considered  to  be confidential.  Including  and  not limited to access to production area. Any  information in the 
        production  area  disclosed  to  Recipient  by  Disclosing  Party  is  considered  proprietary.  This   includes  any 
        processes  and client  information.  Any  client information  is to  remain  confidential  by the Recipient  and may 
        not be used or disclosed to any third parties.  

                NOW  THEREFORE  this  Agreement  witnessed   that,  in  consideration  of  the  disclosure  of   the 
        Confidential Information (as hereinafter defined) to the Recipient and the promises hereinafter contained, the 
        Recipient agrees as follows: 

        1.             ​
                       The  term  “Confidential  Information”   means  any   information  disclosed  by  or  on  behalf  of  the
        Disclosing  Party  to  the  Recipient at  any  time  before or  after  the  execution  of  this  Agreement relating  to the
        Subject  Matter  described   above,   including,   without  limiting  the  generality  of  the   foregoing,  any  drawings,
        notes,  data,  reports,  photographs,  audio  and/or  video  equipment,  models,  samples  and  the  like   and  any
        copies or reproductions thereof.

        2.         Confidentiality.​
                   ​                   The  Recipient shall (a) use the same means it uses to protect its own  Confidential
        Information,  but  in  any  event   not  less  than  reasonable  means,  to  prevent  the  disclosure  and   protect  the
        confidentiality  of  information,   whether  oral  or  written,  communicated  to  it  by   the   Disclosing  Party  in
        connection  with  the  Subject  Matter  (the  “Confidential  Information”),  and  (b)   use  the   Disclosing  Party’s
        Confidential  Information  only   in  connection   with  the  Subject  Matter.   The  Recipient  shall  advise  its




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        employees and  agents  whose  duties justify  the  need  to know  such Confidential Information.  The Recipient 
        shall not make  or issue, or cause to be made or issued, any announcement or statement  regarding activities 
        under  this  Agreement  for  dissemination to  the general  public or  any third party without prior written consent 
        of the Disclosing Party. 
          
        3.              Exclusions.​
                        ​                 Confidential  Information  shall  not  include  information  which (a) was or  becomes 
        generally available to the public other  than as a result of disclosure by the Recipient to the public or any third 
        party  in  violation  of   this  Agreement,  (b)  becomes  available  to  the  Recipient  from  a  source  other than  the 
        Disclosing  Party,  provided  that the Recipient  party has no  reason to believe that such source is itself bound  
        by  confidentiality  or  nondisclosure  agreement  with   the  Disclosing  Party  or  otherwise  prohibited  from 
        disclosing  such  Confidential Information by a legal, contractual or fiduciary obligation, (c) was rightfully in the 
        Recipient’s   possession  prior  to  receipt  from  the   Disclosing  Party,  (d)  is  independently  developed  by  the 
        Recipient  without  the use of the Disclosing  Party’s Confidential Information,  or (e) is required to be disclosed 
        by a governmental agency or  law,  so  long as  the Recipient provides the Disclosing Party with  written notice  
        of the required disclosure promptly upon receipt of notice of the required disclosure. 
          
        4.             Return to Confidential  Information.​
                       ​                                           The  Recipient  shall, at the request  of  the  Disclosing  Party, 
        return  all  copies   of  the  Disclosing  Party’s  Confidential  Information,  including  all  documents  and  other 
        materials containing, relating  or based  upon  any  Confidential Information or  certify  in  writing that  all copies 
        thereof have been destroyed.  
          
        5.           Third  Party Information.​
                     ​                             The Disclosing  Party’s Confidential Information  may include information  
        which  belongs to a third  party  that is  assisting the Disclosing  Party with or is involved in the Subject Matter. 
        In such event, such third party shall be  a third party beneficiary of this Agreement.  Except as  provided in  the 
        preceding  sentence,  this Agreement  does  not  confer any rights or remedies upon any person or entity not a 
        party to this Agreement.  The  Recipient agrees  not  to disclose any proprietary, confidential, secret or private 
        information  of  any  third  party which  it is under a duty not  to disclose without  the prior written consent of such 
        third person and the Disclosing Party. 
          
        6.              Remedies.​
                        ​                Upon  any  actual  or  threatened  violation  of  this  Agreement  by  the  Recipient,  the 
        Disclosing  Party  shall  be entitled to  preliminary  and other  injunctive relief against such violation, in addition 
        to any other rights or remedies which it may have at law or in equity.  
                                                                                                                                           
        7.           No  Warranties  or Further Rights​
                     ​                                    .  The Disclosing Party  makes  no representations  or warranties, 
        express  or  implied, with respect to  any  of  its  Confidential Information.   Nothing contained in this Agreement 
        shall  be  construed  as  granting  or   conferring  any  rights  by  license  or  otherwise   in  the  Disclosing  Party’s 
        Confidential  Information,  except   for  the  use  of  such  Confidential Information as  expressly  provided  in  this 
        Agreement. 
          
        8.           Miscellaneous.​
                     ​                   The  Recipient  shall  not  act  or  have authority to act as an  agent of the Disclosing 
        Party  for  any  purpose  whatsoever.   This  Agreement shall  be binding on Recipient and their successors and 
        assigns.  The  Recipient  may  not  assign  its  rights  or  obligations  under  this  Agreement  without  the  prior 
        written  consent  of  the  Disclosing  Party.  This  Agreement  sets  forth the  entire  understanding of the parties 
        with respect to the Subject Matter of this Agreement. 
          
        9.           ​
                     The  invalidity  or unenforceability of  any  provision  of this Agreement shall not affect the validity or 
        enforceability of any other provisions of this Agreement. 
          




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        10.             ​
                        This Agreement shall remain in effect until the  Recipient is expressly released therefrom  in writing 
        by the Disclosing Party. 
          
        11.              ​
                         The  property  and all rights belong to  the Disclosing Party  now, and  for  an  unlimited  time  in the 
        future. 
          
        IN  WITNESS  WHEREOF  the  Recipient  has  caused  this  Agreement to  be executed by  its  duly  authorized 
        officer this  ​      ​
                             day of​
                                           ​
                                           2016. 
          
                                                                             
        RECIPIENT:  
                      
                    _________________________________________                                                    
        sign 
         
                    Maryellis Bunn
                    _________________________________________                                                    
        print 
          
                       
        DISCLOSING PARTY:   
         
        Pretty in Plastic, Inc. 



                               
         
        Julie B.     _________________________________________                                                    
        print 




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